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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE SANDRIDGE ENERGY, INC.             )
SECURITIES LITIGATION                    )      No. 12-CV-1341
                                         )

               JOINT STATUS REPORT AND DISCOVERY PLAN

Date of Status Conference:   November 1, 2017

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       JURY TRIAL DEMANDED                 Non-Jury Trial □




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1.        BRIEF PRELIMINARY STATEMENT. State briefly and in ordinary language
          the facts and positions of the parties to inform the judge of the general nature of
          the case.

          The Plaintiffs assert claims on behalf of a putative class of persons who purchased
    SandRidge Energy Inc. (“SandRidge”) common stock between February 24, 2011 and
    November 8, 2012, inclusive (the “Class Period”) under Sections 10(b) and 20(a) of the
    Securities Exchange Act of 1934.1 Plaintiffs allege that defendants overstated the
    economic value of, and misrepresented and omitted materially false and misleading
    information concerning, the oil and natural gas production and reserves in SandRidge’s
    holdings in the Mississippian play.

           The operative pleading is Plaintiffs’ Third Consolidated Amended Complaint for
    Violations of Federal Securities Laws (the “TAC”) which was the subject of the Court’s
    August 1, 2017 Order on defendants’ motions to dismiss (the “8/1/17 Orders”). The
    8/1/17 Orders sustained plaintiffs’ Section 10(b) claims against defendants Tom Ward
    and Matthew Grubb, dismissed the Section 10(b) claim against James Bennett, and
    sustained Plaintiffs’ Section 20(a) claims against all defendants.

          Specifically, in the 8/1/17 Order, the Court sustained Plaintiffs’ claims based on
    statements and omissions concerning SandRidge’s production and reserves in the
    Mississippian play, but held that the TAC failed to adequately allege that defendants’
    capital expenditure (“CapEx”) guidance statements were actionable and failed to
    adequately allege loss causation with respect to the TAC’s claims related to
    misrepresentations concerning land acquisitions by entities related to Tom L. Ward.
    Accordingly, Plaintiffs’ operative claims relate to Defendants’ alleged
    misrepresentations and omissions concerning the production, reserves and economic
    value of the Company’s holdings in the Mississippian play.

          The Defendants deny all allegations of wrongdoing and deny any liability to
    Plaintiffs or the putative class. The parties respectfully refer the Court to the TAC (ECF
    No. 225), the Answers filed by Defendants (ECF Nos. 242-244), and the Court’s August
    1, 2017 orders denying in part and granting in part Defendants’ motions to dismiss (ECF
    Nos. 239-240) for a more comprehensive description of their claims and defenses.


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  As a result of SandRidge’s previously filed bankruptcy proceedings, all claims against
SandRidge have been discharged. SandRidge is a nominal defendant in this action,
named solely to the extent necessary to recover from available insurance coverage under
any applicable insurance policy providing coverage to SandRidge for the claims asserted
therein.

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2.   JURISDICTION. State the basis on which the jurisdiction of the Court is
     invoked and any presently known objections.

         This Court has subject-matter jurisdiction over this action pursuant to
          Section 27 of the Exchange Act [15 U.S.C. §78a], and 28 U.S.C. §§1331
          and 1337.

         This Court has personal jurisdiction over Defendants because SandRidge’s
          principal executive office is located in this District; Messrs. Bennett, Grubb
          and Ward are citizens of Oklahoma; and all Defendants have conducted
          business in this District relating to the alleged misconduct described in the
          TAC.

         There are no known objections to either personal or subject matter
          jurisdiction.

3.   STIPULATED FACTS. List stipulations as to all facts that are not disputed,
     including jurisdictional facts.

         This Court has jurisdiction over this action pursuant to Section 27 of the
          Exchange Act [15 U.S.C. §78a], and 28 U.S.C. §§1331 and 1337.

         Venue in this court is proper.

         Nominal Defendant SandRidge is a corporation organized under Delaware
          law. SandRidge’s headquarters is located at 123 Robert S. Kerr Avenue,
          Oklahoma City, Oklahoma 73102. SandRidge’s stock trades on the New
          York Stock Exchange under the symbol “SD.” SandRidge is named as a
          nominal defendant.

         The SEC filings referenced in the TAC were disseminated directly or
          indirectly through instrumentalities of interstate commerce.

         There were approximately 415.3 million shares of SandRidge common
          stock outstanding as of February 17, 2012.

         On May 16, 2016, SandRidge filed a Voluntary Petition for Bankruptcy in
          the United States Bankruptcy Court for the Southern District of Texas (the
          “Bankruptcy Court”). On September 20, 2016, the Bankruptcy Court
          entered an order (the “Confirmation Order”) confirming the chapter 11 plan
          (the “Plan”) of SandRidge and its debtor affiliates (collectively, on and
          after the effective date of the Plan, which occurred on October 4, 2016, the
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               “Reorganized Debtors”). As a result of the bankruptcy proceedings, all
               claims against SandRidge were released, acquitted and discharged. The
               Plan provided, however, that SandRidge could be named as a nominal
               defendant in this action solely to the extent necessary to recover on any
               claims from available remaining coverage under any applicable insurance
               policy. In addition, the Plan does not prevent Plaintiffs from seeking
               discovery from SandRidge in connection with this action, including but not
               limited to, seeking production of documents in the possession, custody, or
               control of SandRidge or its agents or their respective transferees, subject to
               all rights of the Reorganized Debtors under applicable non-bankruptcy law.

             Mr. Ward was SandRidge’s Chairman and CEO during the Class Period.


             Mr. Bennett served as SandRidge’s Executive Vice President during the
              Class Period.


             Mr. Grubb served as SandRidge’s President and Chief Operating Officer
              during the Class Period.


4.    CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
      SOUGHT.

      a.       Plaintiffs:

      Plaintiffs respectfully refer the Court to the TAC (ECF No. 225) and the Court’s
August 1, 2017 orders denying in part and granting in part Defendants’ motions to
dismiss (ECF Nos. 239-240) for a description of Plaintiffs’ contentions and claims for
damages.

      b.       Defendants:

        Defendants deny the claims asserted against them, ask that judgment be entered in
their favor dismissing all such claims, and respectfully refer the Court to the Answers
filed by Defendants (ECF Nos. 242-244) for their specific affirmative defenses and
contentions.

5.    APPLICABILITY OF FED. R. CIV. P. 5.1 AND COMPLIANCE.

      Do any of the claims or defenses draw into question the constitutionality of a

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      federal or state statute where notice is required under 28 U.S.C. §2403 or Fed. R.
      Civ. P. 5.1?
                     □ Yes No

6.    MOTIONS PENDING AND/OR ANTICIPATED (include date of filing, relief
      requested, and date responsive brief to be filed).

       At this time there are no motions pending before the Court, and none are
anticipated to be filed.

7.    COMPLIANCE WITH RULE 26(a)(1). Have the initial disclosures required by
      Fed. R. Civ. P. 26(a)(1) been made? □ Yes  No

      If “no,” by what date will they be made?

      Per the attached discovery schedule, agreed to by all parties, Rule 26(a)(1) Initial
Disclosures shall be exchanged on November 15, 2017.

8.    PLAN FOR DISCOVERY.

      A.     The discovery planning conference was held on October 10, 2017. A
             proposed discovery schedule was discussed and the parties have agreed to
             comply with the deadlines set forth in the Discovery Schedule attached
             hereto as Appendix A.

      B.     The parties anticipate that fact discovery should be completed within
             approximately 12 months (by October 11, 2018), and that expert discovery
             should be completed within 17 months (by March 26, 2019).

      C.     In the event ADR is ordered or agreed to, what is the minimum amount of
             time necessary to complete necessary discovery prior to the ADR session?

      The parties do not believe that discovery is necessary prior to alternative dispute
      resolution efforts.

      D.     Have the parties discussed issues relating to disclosure or discovery of
             electronically stored information, including the form or forms in which it
             should be produced, pursuant to Fed. R. Civ. P. 26(f)(3)(C)?

              Yes □ No

      During the parties’ conference pursuant to Rule 26(f) of the Federal Rules of Civil
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Procedure, the parties discussed issues relating to discovery of ESI, including production
protocols. The parties anticipate timely meeting and conferring upon service of discovery
requests to agree on an ESI protocol.

       E.     Have the parties discussed issues relating to claims of privilege or of
              protection as trial-preparation material pursuant to Fed. R. Civ. P.
              26(f)(3)(D)?

              □ Yes No

              To the extent the parties have made any agreements pursuant to Fed. R.
              Civ. P. 26(f)(3)(D) and Fed. R. Civ. P. 502(e) regarding a procedure to
              assert claims of privilege/protection after production and are requesting that
              the court include such agreement in an order, please set forth the agreement
              in detail below and submit a proposed order adopting the same.

       The parties are currently negotiating and anticipate submitting an agreed upon
protective order, subject to the Court’s approval, that will, among other things, address a
procedure to assert claims of privilege/protection after production.

       F.     Identify any other discovery issues which should be addressed at the
              scheduling conference, including any subjects of discovery, limitations on
              discovery, protective orders needed, or other elements (Fed. R. Civ. P.
              26(f)) which should be included in a particularized discovery plan.

              Even though merits fact discovery and class certification discovery will
occur concurrently, the parties propose conducting discovery to permit the completion of
class certification motion practice prior to July 15, 2018.

9.     ESTIMATED TRIAL TIME:                                 10-15 Trial Days

10.    BIFURCATION REQUESTED:                           □Yes                No

11.    POSSIBILITY OF SETTLEMENT:                       □Good        Fair        □ Poor

12.    SETTLEMENT AND ADR PROCEDURES:

       A.     Compliance with LCvR 16.1(a)(1) - ADR discussion: Yes               □ No

       B.     The parties request that this case be referred to the following ADR process:

                    Court-Ordered Mediation subject to LCvR 16.3
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             □      Judicial Settlement Conference
             □      Other
             □      None - the parties do not request ADR at this time.


13.   Parties consent to trial by Magistrate Judge? □ Yes          No

14.   Type of Scheduling Order Requested. □ Standard             Specialized
      (If a specialized scheduling order is requested, counsel should include a statement
      of reasons and proposal.)

      In light of the complex claims asserted in this litigation, and the need for a
determination on class certification, the parties’ respectfully request a specialized
scheduling order, as summarized in Section 8 above, and detailed in Appendix A.

Submitted this 25th day of October, 2017.

                                        Respectfully submitted,


                                        s/Evan J. Kaufman

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           Appendix A: In re SandRidge Energy Inc. Securities Litigation
                          PROPOSED DISCOVERY DATES
                             Action                                   Date
Exchange of Rule FRCP 26 Initial Disclosures                        November 15, 2017
Class Certification Motion                                          February 16, 2018
Opposition to Class Certification Motion                            May 15, 2018
Reply in support of Class Certification Motion                      July 15, 2018
Substantial completion of document production                       May 31, 2018
(with the exception of documents relating to class certification,
which shall be produced earlier on a schedule to be negotiated
by the parties)
Deadline to join additional parties and amend pleadings             July 20, 2018
Fact Discovery Cutoff                                               October 11, 2018
Deadline for Opening Expert Reports                                 November 16, 2018
Deadline for Opposing Expert Reports                                January 18, 2019
Deadline for Rebuttal Expert Reports                                February 19, 2019
Earliest date for expert depositions (with the exception of         February 26, 2019
class certification depositions, which shall be conducted
earlier on dates to be negotiated by the parties)
Expert Discovery Cutoff                                             March 26, 2019
Deadline to file Dispositive Motion(s) and motions to exclude       May 15, 2019
expert testimony under Daubert and/or FRE 702
Opposition(s) to Dispositive Motion(s) and motions to exclude
                                                              July 15, 2019
expert testimony under Daubert and/or FRE 702
Reply in support of Dispositive Motion(s) and Daubert motions August 15, 2019
to exclude expert testimony under Daubert and/or FRE 702
Tentative date for hearing on dispositive motions (if ordered)      September 16, 2019
Final Pretrial Conference                                          October 15, 2019
The parties will confer with the Court regarding trial date, trial
schedule, and pre-trial motions at the Final Pretrial Conference.
